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            UNITED STATES COURT OF INTERNATIONAL TRADE
       BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE

                                                     )
ELLWOOD CITY FORGE COMPANY, ELLWOOD                  )
NATIONAL STEEL COMPANY, ELLWOOD                      )
QUALITY STEELS COMPANY, and A. FINKL &               )
SONS,                                                )
                                                     )
                       Plaintiffs and Consolidated   )
                       Defendant-Intervenors,        )
                  v.                                 )
                                                     )   Consol. Ct. No. 21-00077
UNITED STATES,                                       )
                                                     )
                       Defendant,                    )
                 and                                 )
                                                     )
BGH EDELSTAHL SIEGEN GMBH,                           )
                                                     )
                       Defendant-Intervenor and      )
                       Consolidated Plaintiff.       )
                                                     )


   PLAINTIFFS’ REPLY TO DEFENDANT’S COMMENTS ON THE REMAND
                        REDETERMINATION


                                                     Myles S. Getlan
                                                     Jack A. Levy
                                                     Thomas M. Beline
                                                     James E. Ransdell
                                                     Nicole Brunda
                                                     CASSIDY LEVY KENT (USA) LLP
                                                     900 19th Street NW
                                                     Suite 400
                                                     Washington, DC 20006
                                                     (202) 567-2300

                                                     Counsel to Ellwood City Forge Co.,
                                                     Ellwood National Steel Co., Ellwood
                                                     Quality Steels Co., and A. Finkl &
                                                     Sons

May 15, 2023
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              UNITED STATES COURT OF INTERNATIONAL TRADE
         BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE

                                                          )
ELLWOOD CITY FORGE COMPANY, ELLWOOD                       )
NATIONAL STEEL COMPANY, ELLWOOD                           )
QUALITY STEELS COMPANY, and A. FINKL &                    )
SONS,                                                     )
                                                          )
                            Plaintiffs and Consolidated   )
                            Defendant-Intervenors,        )
                       v.                                 )
                                                          )   Consol. Ct. No. 21-00077
UNITED STATES,                                            )
                                                          )
                            Defendant,                    )
                     and                                  )
                                                          )
BGH EDELSTAHL SIEGEN GMBH,                                )
                                                          )
                            Defendant-Intervenor and      )
                            Consolidated Plaintiff.       )
                                                          )

    PLAINTIFFS’ REPLY TO DEFENDANT’S COMMENTS ON THE REMAND
                         REDETERMINATION

       Ellwood City Forge Company, Ellwood Quality Steels Company, Ellwood National

Steel Company, and A. Finkl & Sons (collectively, “Plaintiffs”), hereby submit comments in

reply to Section III of Defendant’s response to Plaintiffs’ comments on the remand

redetermination filed with this court by the U.S. Department of Commerce (“Commerce”).

See “Defendant’s Response to Plaintiffs’ Comments on the Remand Redetermination and

Request for Partial Voluntary Remand,” ECF Doc. 65 (Apr. 28, 2023) at 5-8 (“Defendant’s

Remand Comments”). Plaintiffs’ reply comments are timely submitted in accordance with

the schedule set forth in the Court’s opinion ordering remand. See USCIT Slip Op. 22-122 at

48 (ECF No. 55) (“Slip Op. 22-122”) (deadline for “Defendant-Intervenor”).

       Section III of Defendant’s Remand Comments addressed Commerce’s refusal to

consider alternative statutory methodologies by which Commerce might adjust BGH’s

reporting to account for its distorted costs. See Defendant’s Remand Comments at 5-8.

Plaintiffs submit this reply to correct Defendant’s inaccurate characterization of this matter’s

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procedural posture, and to address Defendant’s post hoc rationales. 1 Specifically,

Defendant’s repeated assertions that Plaintiffs could have argued statutory alternatives to

Hyundai Steel during the original administrative proceedings are false. Plaintiffs fully

argued such alternatives at the first available opportunity, and Commerce was equally

positioned to address both the implications of Hyundai Steel and Plaintiffs’ alternatives for

the first time on remand, but simply refused to do so. (Section I). Given the foregoing,

Defendant’s new suggestion—found nowhere in Commerce’s Remand Redetermination—

that Regents and Hyundai Steel precluded Commerce from addressing new arguments on

remand is actively contradicted by those decisions, which expressly permit the agency to

address and adopt new rationales on remand, as it already did here. (Section II).

       As such, Plaintiffs respectfully request that any remand order issued by this court

instruct Defendant to fully consider Plaintiffs’ alternative statutory pathways. 2

I.     PLAINTIFFS RAISED ALTERNATIVE STATUTORY PATHWAYS PRESERVED BY
       HYUNDAI STEEL AT THE FIRST AVAILABLE OPPORTUNITY; DEFENDANT
       PREVIOUSLY ACKNOWLEDGED THAT COMMERCE “HAD NO OPPORTUNITY TO
       CONSIDER” THESE ISSUES ADMINISTRATIVELY

       Defendant’s basic theory is that Commerce was correct to ignore Plaintiffs’

arguments because Plaintiffs failed to present Commerce with the statutory alternatives at

issue during the original administrative investigation. See Defendant’s Response Comments

at 5-8. The critical factual flaw in Defendant’s rationale is that Defendant only agreed to

reconsider the approach adopted during the original administrative investigation in response

to Hyundai Steel, which Defendant expressly acknowledged was only “issued…after

Commerce’s final determination.” “Defendant’s Response in Opposition to Plaintiffs’


1
  Plaintiffs support Defendant’s request for a voluntary remand to reconsider its calculation
methodology, as explained in the last paragraph of Section II of Defendant’s brief.
2
  If, in the alternative, the court were to order a limited remand for Defendant to first address
its calculation errors, and defer addressing Commerce’s refusal to consider Plaintiffs’
alternative statutory pathways until after receiving Commerce’s second remand
redetermination, Plaintiffs would not oppose such sequencing.

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Motion for Judgment on the Agency Record,” ECF Doc. 37 (Dec. 17, 2021) at 29

(“Defendant’s 56.2 Response”); see also Slip. Op. 22-122 at 37, 49 (ordering remand “in

compliance with Hyundai Steel” to “reconsider{} the particular market situation

adjustment”). Thus, Plaintiffs had no opportunity to argue the implications of that decision

administratively, and Commerce cannot refuse to consider arguments on remand that

Plaintiffs had no cause to raise before this litigation.

        Notably, Defendant correctly admits that Plaintiffs fully briefed the alternative

statutory pathways for adjusting BGH’s distorted costs prior to remand in Plaintiffs’ Rule

56.2 response brief, see “Plaintiffs’ Response Brief in Opposition to BGH Edelstahl Siegen

GmBH’s Rule 56.2 Motion for Judgment on the Agency Record,” ECF Doc. 33 at 7, 24-28

(Conf. Ver.) (“Plaintiffs’ 56.2 Response”), and again did so in Plaintiffs’ comments on

Commerce’s draft remand results, see “FEB Fair Trade Coalition’s Comments on Draft

Remand Results” (Feb. 15, 2023) at 3-9 (Appx012062-012068) (“Plaintiffs’ Draft Remand

Comments”); Defendant’s Remand Comments at 6 (acknowledging both of the foregoing).

Yet, Defendant wrongly asserts that Plaintiffs had some earlier cause to raise these arguments

during administrative proceedings. See Defendant’s Remand Comments at 5-6 (asserting

that “{a}t no point leading up to Commerce’s determination were {Plaintiffs’ statutory}

‘alternatives’ raised,” that “{Plaintiffs’ statutory} alternatives were not raised to Commerce

in the first instance,” and that “Plaintiffs first highlighted ‘alternative statutory routes’ to

reaching a PMS determination after Commerce’s original determination.”). In fact, Hyundai

Steel was only “issued…after Commerce’s final determination,” Defendant’s 56.2 Response

at 29, and Plaintiffs therefore took advantage of their very first opportunity to address

statutory alternatives left open by Hyundai Steel in their Rule 56.2 Response.

        Likewise, the first time any respondent raised Hyundai Steel for the Government’s (or

Plaintiffs’) consideration was in BGH’s Rule 56.2 Opening Brief before this court.



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Compare, e.g., Letter from BGH, “Case Brief” (Nov. 9, 2020) at Appx086392-086413

(raising various factual arguments, but raising no challenge whatsoever to the lawfulness of

Commerce’s PMS adjustment), with “BGH Rule 56.2 Memorandum in Support of Motion

for Judgment Upon the Agency Record,” ECF Doc. 23-2 (Aug. 9, 2021) at 5-7. Thus,

whereas Defendant previously acknowledged “the agency had no opportunity to consider

{Hyundai Steel}” administratively, Defendant’s 56.2 Response at 29, the government was

therefore equally positioned to consider—for the first time during remand —both the positive

and negative implications of Hyundai Steel, viz., which PMS adjustments were precluded

(BGH’s argument), and what alternative statutory pathways remained available (Plaintiffs’

argument). This reality contradicts Defendant’s one-sided presentation of the facts, and

underscores the arbitrariness of Commerce’s readiness to scale back the PMS adjustment on

remand in response to Hyundai Steel, see Remand Redetermination at 4, while refusing to

even address alternatives left open by that same court decision, see id. at 6.

       Perhaps cognizant of the foregoing problem, Defendant also briefly asserts that

addressing Plaintiffs’ alternative statutory pathways “demand{s} new factual analysis.” Id.

at 7. Insofar as Defendant sought to imply that one or both of Plaintiffs’ alternative statutory

approaches requires Commerce to reopen the administrative record, such assertion is false.

Plaintiffs never predicated their arguments on any request to reopen the record, but rather

framed these arguments in terms of the administrative record as it presently exists. See

“Plaintiffs’ Comments in Opposition to the Final Results of Redetermination Pursuant to

Court Remand,” ECF Doc. 62 (Apr. 13, 2023) at 7-17; Plaintiffs’ Draft Remand Comments

at 3-9 (Appx012062-012068).

       To the extent Defendant was simply observing that addressing Plaintiffs’ arguments

would require Commerce to reassess the existing administrative record, this appeal to

administrative indolence provides no lawful basis for Commerce’s refusal. As previously



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detailed, this Court’s remand with respect to Commerce’s PMS adjustments was open-ended

with respect to how else Commerce might account for BGH’s distorted costs, and neither

purported to nor could have precluded Commerce’s consideration of alternatives devised in

response to Hyundai Steel. See Plaintiffs’ Remand Comments at 7-10. Moreover,

reconsideration of the record is a basic feature of administrative remand proceedings and is

necessary in every instance where Commerce failed to consider an issue in the first instance.

See, e.g., Coal. of Am. Flange Producers v. United States, 448 F. Supp. 3d 1340, 1352-1353,

1355 (Ct. Int’l Trade 2020) (“Commerce did not address information raised that may cast

doubt on the reasonableness of a position taken by the agency. Therefore, the agency’s

explanation does not illustrate whether Commerce accounted for and rejected the questions

raised by the logo provision or entirely failed to consider an important aspect of the

problem.”) (internal citations omitted); Hyundai Heavy Indus. Co., Ltd. v. United States, 393

F. Supp. 3d 1293, 1319 n.31 (Ct. Int’l Trade 2019) (“Although HHI presented several

arguments with respect to Commerce’s preliminary affiliation finding, Commerce did not

analyze those arguments….Commerce must address those arguments upon reconsideration

on remand.”) (internal citations omitted); Vinh Hoan Corp. v. United States, 49 F. Supp. 3d

1285, 1315 (Ct. Int’l Trade 2015) (ordering remand where Commerce’s “explanation is

unresponsive to the argument that Plaintiffs are making” leaving it “not clear to the court

how Commerce has addressed {Plaintiff’s} argument” and requiring that Commerce “should

address this argument on remand”).

II.    CONTRARY TO DEFENDANT’S POST HOC RATIONALE, NO “PRINCIPLE OF
       ADMINISTRATIVE LAW” COUNTENANCES DEFENDANT’S CONSIDERATION OF ONLY
       HYUNDAI STEEL’S NEGATIVE IMPLICATIONS

       Given that “the agency had no opportunity” to consider the implications of Hyundai

Steel because that opinion did not exist at the time of Commerce’s original administrative

determination, Defendant’s 56.2 Response at 29, Defendant cannot lawfully refuse to



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consider Plaintiffs’ rejoinder to Hyundai Steel “because {Plaintiffs’} alternative {statutory

arguments} were not raised to Commerce in the first instance,” Defendant’s Comments at 6.

Contrary to Defendant’s post hoc assertions, there is no “principle of administrative law” so

Kafkaesque as to empower Defendant’s consideration of Hyundai Steel’s negative

implications, while precluding Plaintiffs’ response. See id. at 5.

     A.       Defendant’s Argument in Section III Is Absent from Commerce’s Remand
              Redetermination and Constitutes Impermissible Post Hoc Rationalization

          The rationale asserted in Section III of Defendant’s Remand Comments is found

nowhere in Commerce’s remand redetermination. Commerce’s Remand Redetermination

explained its refusal to consider Plaintiffs’ alternative statutory arguments as follows:

                 While the Coalition contends that Commerce may rely on other
                 avenues to support making a cost-based PMS adjustment in
                 accordance with the CAFC’s decision in Hyundai Steel, in line
                 with Commerce’s remand request and the Court’s Remand Order,
                 we determine that this remand redetermination is not the
                 appropriate proceeding in which Commerce should address, for the
                 first time, alternative possible interpretations of the CAFC’s
                 analysis in Hyundai Steel.

Remand Redetermination at 6. Commerce did not cite any particular passage of Hyundai

Steel or provide any further explanation of its rationale beyond this conclusory assertion. See

id. Plaintiffs’ comments to the court in opposition to Commerce’s remand results therefore

responded to Commerce’s open-ended assertion that Commerce’s remand request and

Hyundai Steel rendered it “not appropriate” for Commerce to address Plaintiffs’ alternative

adjustments. See “Plaintiffs’ Comments in Opposition to the Final Results of

Redetermination Pursuant to Court Remand,” ECF Doc. 62 (Apr. 13, 2023) at 7-17 (Conf.

Ver.) (“Plaintiffs’ Remand Comments”).

          But the Government’s response has espoused an entirely new theory, i.e., that

Hyundai Steel elucidated a “principle of administrative law” wherein “Commerce’s failure to

base its ruling in whole or in part on {a given alternative}” rendered the alternative “not



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available as {a} ground for upholding Commerce’s final determination.” Defendant’s

Remand Comments at 5. The Government continues by citing additional authorities found

nowhere in Commerce’s explanation and asserting for the first time that Commerce cannot

consider Plaintiffs’ alternative statutory bases “because the alternatives were not raised to

Commerce in the first instance” and “demand new factual analysis.” Compare Remand

Redetermination at 6, with Defendant’s Remand Comments at 6-7 (citing, e.g., Dep’t of

Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1907-08 (2020)).

          Defendant’s Remand Comments mark the first time in any of the Government’s

papers throughout this litigation and associated remand proceedings that it has advanced

these positions or authorities. It is well-established, however, that “Courts may not accept

appellate counsel’s post hoc rationalizations for agency action.” Motor Vehicle Mfrs. Ass'n v.

State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983); see also Burlington Truck Lines, Inc.

v. United States, 371 U.S. 156, 168 (1962) (“Commission counsel now attempt to justify the

Commission's ‘choice’ of remedy on the ground that a cease-and-desist order would have

been ineffective. The short answer to this attempted justification is that the Commission did

not so find.”). As such, Defendant’s response is defective, necessitating further remand.

Nothing in Commerce’s redetermination asserts that it felt “new factual analysis” was

required, or that the Defendant’s proffered “principle of administrative law” was what

precluded Commerce’s analysis. See Remand Redetermination at 6.

     B.       Defendant’s Extremely Restrictive Interpretation of Hyundai Steel Runs
              Afoul of that Opinion, Regents, and Common Sense

          Not only has Defendant proffered post hoc rationalization, it does so based on a

fundamental misunderstanding of Hyundai Steel. The Federal Circuit’s observation that

“Commerce’s failure to base its ruling in whole or in part on section 1677b(f)(1)(A) means

that section 1677b(f) is not available as an alternative ground for upholding Commerce’s

final determination” arose out of a situation wherein the alternative ground in question had


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been raised (1) only by an intervenor and (2) not until the case had reached the Federal

Circuit. See Hyundai Steel Co. v. United States, 19 F.4th 1346, 1356 (Fed. Cir. 2022) (“Nor

did Welspun (or any other defendant before the Trade Court) rely on that section in support

of Commerce's adjustments in its final determination. And the Trade Court did not address

the section 1677b(f)(1)(A) argument that Welspun has now raised.”). This procedural

posture—i.e., a different litigant espousing a new rationale that the agency never had an

opportunity to address or adopt—is what drove the court’s observation. The authorities

invoked in support confirm as much. See Hyundai Steel, 19 F. 4th at 1356 (citing Sec. &

Exch. Comm’n v. Chenery Corp., 332 U.S. 194, 196 (1947) (“Chenery II”) (“a reviewing

court, in dealing with a determination or judgment which an administrative agency alone is

authorized to make, must judge the propriety of such action solely by the grounds invoked by

the agency. If those grounds are inadequate or improper, the court is powerless to affirm the

administrative action by substituting what it considers to be a more adequate or proper

basis.”); Changzhou Wujin Fine Chem. Factory Co. v. United States, 701 F.3d 1367, 1379

(Fed. Cir. 2012) (materially same and quoting Chenery II in part); Thai I-Mei Frozen Foods

Co. v. United States, 616 F.3d 1300, 1307 (Fed. Cir. 2010) (“Although the government makes

various arguments to support its position that a general preference for exclusion of sales

outside the ordinary course of trade is reasonable, we review only the bases on which

Commerce made its determination.”)). All of the foregoing opinions speak to the Court’s

inability to affirm agency determinations based upon rationales that the agency itself never

adopted administratively. None of these opinions preclude an agency from espousing a new

rationale during an administrative remand.

       In stark contrast to the scenario addressed by Hyundai Steel, Plaintiffs here did rely on

their alternative statutory pathways both before this Court and again during remand. See

Plaintiffs’ 56.2 Response at 7, 24-28; Plaintiffs’ Draft Remand Comments at 3-9



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(Appx012062-012068). Thus, but for Commerce’s refusal on remand, Plaintiffs’ alternative

statutory arguments would have been addressed administratively, and would be part of

Commerce’s redetermination. Indeed, this sort of new analysis is expressly contemplated by

Regents, the other case on which Defendant relies, see Defendant’s Remand Comments at 6,

wherein the Supreme Court states that the remedy for an inadequate agency determination is

to order remand, acknowledges that an agency may undertake “new agency action” on

remand, and explains that “{a}n agency taking this route is not limited to its prior reasons but

must comply with the procedural requirements for new agency action.” Dep’t of Homeland

Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1907-08 (2020) (quoting Chenery

II, 332 U.S. at 201) (emphasis supplied); see also Venus Wire Indus. Pvt. Ltd. v. United

States, 471 F. Supp. 3d 1289, 1299 (Ct. Int’l Trade 2020) (“The remand proceeding is an

administrative proceeding, meaning that Commerce’s comments are not the post hoc

rationalization of its counsel.”) (quoting Fengchi Imp. & Exp. Co., Ltd. of Haicheng City v.

United States, 98 F. Supp. 3d 1309, 1315 (Ct. Int’l Trade 2015)).

       Insofar as Commerce used its remand proceedings to reverse the reasoning espoused

in Commerce’s original administrative determination—i.e., undoing the sales-below-cost test

PMS adjustment and newly reasoning that such an adjustment was not permitted—

Commerce could not reasonably refuse to consider Plaintiffs’ alternatives on the theory that it

was not undertaking new agency action. Compare Final IDM at 16 (“the Act permits

Commerce to address distortions in reported costs through various calculation methodologies,

including cost adjustments for purposes of the sales below cost test”) (emphasis supplied)

(Appx002293), with Remand Redetermination at 4 (“Pursuant to the CAFC’s decision in

Hyundai Steel referenced above, the statute only permits the adjustment of cost of production

for a PMS when making comparisons based on constructed value, not for purposes of the

sales-below-cost test….consistent with the CAFC’s precedential opinion in Hyundai Steel,



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we…are not making a PMS adjustment when applying the sales-below-cost test.”) (emphasis

supplied). Put differently, Commerce’s complete about-face is plainly not “a fuller

explanation of the agency’s reasoning at the time of the agency action,” and therefore

necessarily constitutes “new agency action.” See Regents, 140 S. Ct. at 1907-08. Indeed,

Plaintiffs made this very argument to Commerce during remand proceedings, and

Commerce’s response notably avoided addressing Regents or stating that the remand

redetermination was not new agency action. Compare Plaintiffs’ Draft Remand Comments at

Appx012070-012071 (asserting that Commerce’s remand redetermination constituted new

agency action under Regents), with Remand Redetermination at 8-9 (“declin{ing} to consider

{Plaintiffs’} argument”).

       Insofar as Commerce’s about-face on remand is predicated solely upon a new court

decision issued after Commerce’s original agency determination, there is no lawful basis for

Commerce to avoid Plaintiffs’ arguments in response to that same court decision. At base,

what Commerce did on remand and what it unlawfully refused to do are two sides of the

same coin. That is, Commerce recognized that Hyundai Steel foreclosed certain statutory

rationales, see Remand Redetermination at 4, but Hyundai Steel necessarily left other

possibilities open, see Plaintiffs’ Remand Comments at 7-17. Commerce’s refusal to

consider those alternative possibilities was arbitrary and lacked any lawful basis.

III.CONCLUSION

       For the reasons stated above, Plaintiffs respectfully request that any remand order

issued by this court instruct Defendant to fully consider Plaintiffs’ alternative statutory

pathways.

                                *               *               *




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                                  Respectfully submitted,

                                  /s/ Myles S. Getlan

                                  Myles S. Getlan
                                  Jack A. Levy
                                  Thomas M. Beline
                                  James E. Ransdell
                                  Nicole Brunda

                                  CASSIDY LEVY KENT (USA) LLP
                                  900 19th Street NW, Suite 400
                                  Washington, DC 20006
                                  T: (202) 567-2313
                                  F: (202) 567-2301
Dated: May 15, 2023               Email: mgetlan@cassidylevy.com

                                  Counsel to Ellwood City Forge Co.,
                                  Ellwood National Steel Co., Ellwood
                                  Quality Steels Co., and A. Finkl & Sons




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              Certificate of Compliance with Chambers Procedures 2(B)(1)


       The undersigned hereby certifies that the foregoing brief contains 2,942 words,

exclusive of the caption blocks, table of contents, table of authorities, signature block, and

certificates of counsel, and when combined with the 5,115 words of Plaintiffs’ Comments in

Opposition to the Final Results of Redetermination Pursuant to Court Remand, together

comply with the maximum 10,000 word count limitation set forth in the Standard Chambers

Procedures of the U.S. Court of International Trade.



                                              By:      /s/ Myles S. Getlan
                                                       Myles S. Getlan




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